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CALLIE A. BIURSTROM (State Bar No. 137816)

PETER K. HAHN State Bar No. 165692)

MICI-UELLE A. I-IE RA (State Bar No. 2098423)

MATTI-IEW R. STEPHENS State Bar No. 28822 )

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Attorne s for Plaintiff/Counterdefendant

SAN D GO COMIC CONVENTION,
a California non-proflt corporation

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORN'IA
SAN DIEGO COMIC CONVENTION, Case No. 14-cV-1865 AJB (JMA)

a California non-profit corporation,
DECLARATION OF MICHELLE

Plamtlff’ A. HERRERA IN SUPPORT oF
V_ PLAINTIFF AND
COUNTERDEFENDANT sAN
DAN FARR PRoDUCTIONS, a Utah DIEGO COMIC CONVENTION’S
limited liabili com MOT]ON F()R SUMMARY

an .
NEWSPAl_’E AG'E_Il)\IC§,f COMPANY, JU])GMENT
a Utah limlted liab111ty com any;

DANIEL FARR, an indivi ual; and

BRYAN BRANDENBURG, an D_ate: September 21, 2017
individual, Tlme: 2:00 p.m.
Courtroom: 4A
D€ferldants. Judge: Hon. Anthony J. Battaglia

 

AND RELATED COUNTERCLAIM.

 

 

 

4844-7710-5226.v1 Case No. 14-cv-1865 AJB (JMA)

 

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I, Michelle A. Herrera, declare and state as follows:

1.' I am an_ attorney with the law firm of Pillsbury Winthrop Shaw
Pittman LLP, and counsel to Plaintiff and Counterdefendant San Diego Comic
ConVention (“SDCC”) in this case. If called as a witness, I could and would testify
competently to the matters set forth herein.

2. Attached hereto as Exhibit l is a true and correct copy of Trademark
Registration Certificate for U.S. Service Mark Reg. No. 3,221,808, and
accompanying acknowledgement of declaration of incontestability from the United
States Patent and Trademark Offlce, dated March 27, 2007.

3. Attached hereto as Exhibit 2 is a true and correct copy of Trademark
Registration Certificate for U.S. Service Mark Reg. No. 3,219,568, and
accompanying acknowledgement of declaration of incontestability from the United
States Patent and Trademark Office, dated March 20, 2007.

4. Attached hereto as Exhibit 3 is a true and correct copy of Trademark
Registration Certilicate for U.S. Service Mark Reg. No. 2,218,236, and
accompanying acknowledgement of declaration of incontestability from the United
States Patent and Trademark Office, dated January 19, 1999.

5. Attached hereto as Exhibit 4 is a true and correct copy of Trademark
Registration Certificate for U.S. Service Mark Reg. No. 4,425,806 from the United
States Patent and Trademark Office, dated October 29, 2013.

6. Attached hereto as Exhibit 5 is a true and correct copy of excerpts
from the deposition transcript of Dan Farr Productions, LLC and Daniel B. Farr
taken on June 13, 2017.

7. Attached hereto as Exhibit 6 is a true and correct copy of excerpts
from the deposition transcript of Dan Farr Productions, LLC and Bryan
Brandenburg taken on June 14, 2017.

8. Attached hereto as Exhibit 7 is a true and correct copy of the Expe!t

Report of Matthew G. Ezell dated April 7, 2017.

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4844-7710-5226.v1 Case No. l4-cv-1865 AJB (JMA)

 

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9. Attached hereto as Exhibit 8 is a true and correct copy of the book
entitled CoMIC-CoN- 40 YEARs oF ARTISTS, WRITERs, FANs & FRIENDS!” (2012),
foreword by Ray Bradbury-. l l o _____ - l l

10. Attached hereto as Exhibit 9 is a true and correct copy of the book
entitled CoMIc-CoN EPIsoDE IV: A FAN’s HoPE (2011), by Morgan Spurlock.

11. Attached hereto as Exhibit 10 is a true and correct copy of an email
thread regarding Chuck/San Diego ComicCon Sponsorship/Advertising produced
in discovery by Defendants at Bates number DF019408.

12. Attached hereto as Exhibit 11 is a true and correct copy of an email
thread regarding Commercial Schedule for Comic Con, produced in discovery by
Defendants at Bates number DF017357.

13, Attached hereto as Exhibit 12 is a true and correct copy of an email
thread regarding Snapp Conner/ Salt Lack Comic Con, produced in discovery by
Defendants at Bates number DF018019.

14. Attached hereto as lExhibit 13 is a true and correct copy of an email
thread between B. Brandenburg and D. Farr regarding Reach Update, produced in
discovery by Defendants at Bates number DF017307-DF017308.

15. Attached hereto as Exhibit 14 is a true and correct copy of email
threads regarding search engine results optimization, produced in discovery by
Defendants at Bates numbers DF017818- DF017820 and DF0176'13.

16. Attached hereto as Exhibit 15 is a true and correct copy of
photographs showing Defendants’ “Comic Con” car, produced in discovery by
SDCC at Bates numbers CCO64813 and CC007788.

17. Attached hereto as Exhibit 16 is a true and correct copy of an email
thread regarding Marketing Vehicle for SDCC, produced in discovery by
Defendants at Bates number DF021450.

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18. Attached hereto as Exhibit 17 is a true and correct copy of email
threads produced in discovery by Defendants at Bates numbers DF014937 and
DF0215_60. __ _ __ __ ___ __ . __

19. Attached hereto as Exhibit 18 is a true and correct copy of email
threads regarding instances of actual confusion, produced in discovery by
Defendants at Bates numbers DF016935, DF025579, DF025732 and DF013738.

20, Attached hereto as Exhibit 19 is a true and correct copy of an article
“0 to 1000,000 Attendees in Less Than a Year,” by Michael Rondon, produced in
discovery by SDCC, at Bates number CC000029.

I declare under penalty of perjury that the foregoing is true and correct under
the laws of the United States of America and the State of California and that this

declaration was executed on this 23rd day of June, 2017, in San Diego, California.

W'c&¢é/~/¢ davwa

MICHELL'E A. HERRERA

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy _o'f' the-above
and foregoing document has been served on June 23, 2017 to all counsel of record
who are deemed to have consented to electronic service via the Court’s CM/ECF
system per Civil Local Rule 5.4. Any other counsel of record will be served by

electronic mail, facsimile and/or overnight delivery.

By: /s/ Michelle A. Herrera
MICHELLE A. HERRERA

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1 San Diego Comic Convention. v. Dan Farr Productions, et al
2 USDC Case No. l4-cv-1865 AIB(JMA)
3 INDEX OF EX]E[I_BITS TO DECLARATION OF MICIIELLE___A._HERRERA
4 IN SUPPORT OF PLAINTIFF AND COUNTERDEFENDANT SAN DIEGO
5 COMIC CONVENTION’S MOTION FOR SUMJVIARY JUDGMENT
6 Ex. Description Page No.
7 True and correct copy of Trademark Registration Certificate 7- 9
1
8 for U.S. Service Mark Reg. No. 3,221,808 and declaration
of incontestability.
9 True and correct copy of Trademark Registration Certificate 10-12
2
10 for U.S. Service Mark Reg. No. 3,219,568 and declaration
of incontestability.
11 True and correct copy of Trademark Registration Certificate 13-15
3
12 for U.S. Service Mark Reg. No. 2,218,236 and declaration
of incontestability.
13 4 True and correct copy of Trademark Registration Certificate 16-17
14 for U.S. Service Mark Reg. No. 4,425,806.
5 True and correct copy of excerpts from the deposition 18-57
15 transcript of Dan Farr Productions, LLC and Daniel B. Farr
16 taken on June 13, 2017.
6 True and correct copy of excerpts from the deposition 58-97
17 transcript of Dan Farr Productions, LLC and Bryan
18 Brandenburg taken on June 14, 2017.
7 True and correct copy of the Expert Report of Matthew G. 98-347
19 Ezell dated April 7, 2017
20 8 True and correct copy of the book entitled COMIC-CON 348-557
40 Years of Artists, Writers, Fans & Friends!” (2012).
21 9 True and correct copy of Morgan Spurlock, COMIC-CON 558-752
22 EPIsoDE IV: A FAN’s HoPE (2011).
- 10 True and correct copy of an email thread regarding 753-754
23 Chuck/San Diego ComicCon Sponsorship/Advertising
24 produced in discovery by Defendants at Bates number
DF019408
25 11 True and correct copy of Bates number DF017357. 755-758
26 12 True and correct copy of Bates number DF018019. 759-765
27 13 True and correct copy of Bates number DF017307- 766-768
28 DF0173 08
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Ex. Description Page No.

14 True and correct copy of Bates number DF017818- 769-773
DF017820; DF017613

15 True and correct copy of a Bates numbers CC064813; 774-782
CC007788

16 True and correct copy of DF021450 783-784

17 True and correct copy of Bates numbers DF014937; 785-787
DF 02 1 560

18 True and correct copy of Bates numbers DF016935; 788-798
DF025579; DF025732; and DF013738

19 True and correct copy of an article “0 to 1000,000 Attendees 799-804

 

 

in Less Than a Year,” by Michael Rondon, at Bates number
CC000029

 

 

 

 

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Case No. 14-cv-1865 AIB (JMA)

 

 

